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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                        §
                                                          Case No. 22–33553 (CML)
                                              §
Alexander E. Jones,                           §
                                                                  Chapter 11
                                              §
                                                                 Subchapter V
         Debtor.                              §


   LEONARD POZNER AND VERONIQUE DE LA ROSA’S MOTION FOR RELIEF
       FROM THE AUTOMATIC STAY AGAINST ALEXANDER E. JONES



         THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF IT IS
         GRANTED, THE MOVANT MAY ACT OUTSIDE OF THE BANKRUPTCY
         PROCESS. IF YOU DO NOT WANT THE STAY LIFTED, IMMEDIATELY
         CONTACT THE MOVING PARTY TO SETTLE. IF YOU CANNOT SETTLE,
         YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
         PARTY AT LEAST SEVEN DAYS BEFORE THE HEARING. IF YOU
         CANNOT SETTLE, YOU MUST ATTEND THE HEARING. EVIDENCE MAY
         BE OFFERED AT THE HEARING AND THE COURT MAY RULE.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         A HEARING HAS BEEN SCHEDULED ON THIS MATTER FOR
         FEBRUARY 14, 2023 AT 1:00 PM BEFORE THE HONORABLE
         CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY JUDGE,
         UNITED STATES BANKRUPTCY COURT, COURTROOM 401, 515
         RUSK, HOUSTON, TX 77002.

TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY JUDGE:

         Leonard Pozner and Veronique De La Rosa, parties-in-interest in the above-captioned

bankruptcy case (this “Case”), hereby offer the following in support of their Motion for Relief

from the Automatic Stay against Alexander E. Jones (the “Motion”):

                          I.      PRELIMINARY STATEMENT

         1.    Leonard Pozner and Veronique De La Rosa are parents of Noah Pozner, a six-year-

old victim of the Sandy Hook Elementary shooting. For the years that followed, they endured


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even more pain as Alexander E. Jones (“Jones” or the “Debtor”) and his media empire denied

that their child was real—telling an audience of millions that the shooting was staged and that the

parents were paid actors. Jones even urged his audience to investigate, knowing they would

respond by cyberstalking, harassing, and threatening these grieving parents. In doing so, Jones

and his company, Free Speech Systems, LLC ("FSS") inflicted on Pozner and De La Rosa

immense harm.

          2.       And they, like other Sandy Hook families, refused to accept it. Starting in 2018,

Jones and FSS faced a barrage of lawsuits brought by victims of his lies:

                  Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and
                   Owen Shroyer, Cause No. D-1-GN-18-001835, in the 261st District Court of
                   Travis County, Texas;

                  Scarlett Lewis v. Alex E. Jones, Infowars, LLC, and Free Speech Systems, LLC,
                   Cause No. D-1-GN-18-006623, in the 53d District Court for Travis County,
                   Texas;

                  Leonard Pozner and Veronique De La Rosa v. Alex E. Jones, Infowars, LLC, and
                   Free Speech Systems, LLC, Cause No. D-1-GN-18-001842, in the 345th District
                   Court of Travis County, Texas (the “Texas Action”);

                  Marcel Fontaine v. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and
                   Kit Daniels, Cause No. D-1-GN-18-001605, in the 459th District Court for Travis
                   County, Texas;

                  Lafferty, et al. v. Alex Jones, et al., Case No. UWY-CV-XX-XXXXXXX-S, in the
                   Superior Court of Connecticut, Judicial District of Waterbury;

                  Sherlach v. Jones, et al., Case No. UWY-CV-XX-XXXXXXX-S, in the Superior
                   Court of Connecticut, Judicial District of Waterbury; and

                  Sherlach, et al. v. Jones, et al., Case No. UWY-CV-XX-XXXXXXX-S, in the
                   Superior Court of Connecticut, Judicial District of Waterbury.1

1
    See also Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine v. Alex E.
    Jones, Infowars, LLC, Free Speech Systems, LLC, PQPR Holdings Limited LLC, JLJR Holdings, LLC, PLJR
    Holdings, LLC, Carol Jones, David Jones, PQPR Holdings, LLC, JLJR Holdings Limited, LLC, AEJ Holdings,
    LLC, and AEJ Trust 2018, Cause No. D-1-GN-22-001610, in the 200th District Court for Travis County (lawsuit
    claiming that Jones and FSS fraudulently transferred assets away while the Sandy Hook families were prosecuting
    their claims defamation and intentional infliction of emotional distress).

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          3.        Two of the Texas state-court suits by Sandy Hook family members Neil Heslin and

Scarlett Lewis were consolidated into the Heslin/Lewis suit; similarly, the Connecticut cases were

consolidated into the Lafferty suit.2

          4.        After more than four years of litigation before courts in Texas and Connecticut—

including recent verdicts and punitive damages awarded in the Heslin/Lewis and Lafferty suits—

Pozner and De La Rosa are on the cusp of having their trial against Jones. But the automatic stay

triggered by this bankruptcy—the third one in a year—has needlessly halted their case.

          5.        The first stay stemmed from the bankruptcy cases commenced by Jones’s shell

companies, InfoW, LLC, IWHealth, LLC and Prison Planet TV, LLC (the “Shell Companies”

and such cases, the “Shell Company Cases”)—which were defendants before they were

ultimately nonsuited.3 After those Shell Company Cases were dismissed, another automatic stay

was imposed when FSS petitioned for bankruptcy under subchapter V (the “FSS Case”) during

the Heslin/Lewis trial.4 The filing of the FSS Case cost Pozner and De La Rosa their September

2022 trial setting. To avoid further delay, Pozner and De La Rosa chose to focus on Jones only,

with a trial calendared for March 2023.5 But then Alex Jones petitioned for bankruptcy here.

          6.        Now, with a third automatic stay imposed in one year, Pozner and De La Rosa seek

to lift the stay to let their case proceed. Liability has already been established through discovery

sanctions, so all that remains is a damages trial followed by a judgment and potential appeal.

          7.        For the reasons set forth in this motion, Pozner and De La Rosa respectfully ask



2
    See Neil Heslin and Scarlett Lewis v. Alex E. Jones and Free Speech Systems, LLC, Cause No. D-1-GN-18-001835,
    in the 261st District Court of Travis County, Texas; and (ii) Erica Lafferty, et al. v. Alex Jones, et al., Case No.
    UWY-CV18-6046436-S, in the Superior Court of the Judicial District of Fairfield at Bridgeport, Connecticut.
3
    In re InfoW, LLC, et al., Case Nos. 22-60020, 22-60021, 22-60022 (Bankr. S.D. Tex. 2022).
4
    In re Free Speech Systems, LLC, Case No. 22-60043 (Bankr. S.D. Tex. 2022).
5
    Counsel for Pozner and De La Rosa invited FSS to agree to lift the stay as to FSS so it could participate in the March
    2023 trial too, but before any meaningful conference could occur on the subject, Jones filed this Chapter 11 case.

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that this Court reject Jones’s attempt to prevent trial from happening. Pozner and De La Rosa

deserve their day in court, not only as creditors seeking to liquidate their unliquidated claims, but

also as parents determined to protect Noah’s legacy. And because Pozner and De La Rosa’s

requested relief reserves collection against the Debtor to this Case only, allowing them their day

in court to liquidate their claims will only benefit, not hinder, this bankruptcy process.

     II.         JURISDICTION AND VENUE AND CONSTITUTIONAL AUTHORITY

           8.       The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and the Order

of Reference to Bankruptcy Judges, General Order 2012–6 (S.D. Tex. May 24, 2012). This is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

           9.       The statutory and procedural bases for the relief requested here are §§ 105(a) and

362 of the Bankruptcy Code,6 Bankruptcy Rules 4001, and 9014, and Rule 9013-1 of the

Bankruptcy Local Rules for the Southern District of Texas.

           10.      Venue is proper under 28 U.S.C. §§ 1408 and 1409.

           11.      The Court has constitutional authority to enter a final order regarding the Motion.

The Motion concerns essential bankruptcy matters, which have no equivalent in state law,

rendering the Supreme Court’s opinion in Stern v. Marshall inapplicable.7 Also, all the matters

addressed here are essential bankruptcy matters that trigger the public-rights exception.8




6
    Any reference to “Code” or “Bankruptcy Code” is a reference to Title 11 of the United States Code, and any
    reference to “Section” or “§” refers to the corresponding section in Title 11, unless stated otherwise. Any reference
    to “Rules” or “Bankruptcy Rules” is a reference to the Federal Rules of Bankruptcy Procedure, unless stated
    otherwise
7
    See In re Carlew, 469 B.R. 666, 672 (Bankr. S.D. Tex. 2012) (discussing Stern v. Marshall, 564 U.S. 462 (2011)).
8
    See id.

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                          III.       FACTUAL BACKGROUND

       12.     After the Sandy Hook Elementary School shooting in December 2012, the

notorious conspiracy theorist Jones started broadcasting to an audience around the world the

shooting was a hoax, and the parents of the slain children were crisis actors feigning as grieving

parents. For over five years, Jones, through his media program, fixated on the Sandy Hook victims

and their families. Jones and his InfoWars “contributors” told an audience of millions that Sandy

Hook was fake, staged to take away their guns, and that the victims’ families were paid actors.

And perhaps worst of all, he denied that those slain children were even real—all while the parents

were mourning their deaths. Jones urged his audience to “investigate,” knowing his audience

would respond by cyberstalking, harassing, and threatening the families.

       13.     Pozner and De La Rosa eventually sued Jones and his media outlet for the harm

they endured from the lies Jones and his companies uttered. In other words, Pozner and De La

Rosa are not creditors in the traditional sense. They neither loaned Jones money nor fell victim to

some fraudulent scheme. Rather, they are victims of Jones’s defamation and intentional infliction

of emotional distress.

       14.     Just like in the Lafferty and Heslin/Lewis suits, in Pozner and De La Rosa’s case,

Jones and FSS (which Jones wholly owns and controls) engaged in pervasive discovery

misconduct so egregious that the court resolved liability against Jones and FSS and precluded them

from introducing any evidence supporting their defense.

       15.     The Heslin/Lewis suit in Texas was set to commence on April 25, 2022, with the

Pozner/De La Rosa suit to proceed later that summer. The Lafferty case in Connecticut was

similarly scheduled to start jury selection on August 2, 2022.

       16.     Facing imminent trials, however, Jones used the bankruptcy process to stall these



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actions. At his direction, on April 17 and 18, 2022, the Shell Companies that Jones also controls,

and defendants in the Texas and Connecticut actions, petitioned for relief under chapter 11,

subchapter V of the Code.9 Within hours of these Chapter 11 filings, the Connecticut and Texas

actions were then removed to bankruptcy courts on “related to” jurisdiction. The sole basis for

each removal was the pending bankruptcy. The removals effectively stayed the Connecticut and

Texas actions, even against those entities that were not debtors in the Chapter 11 case (including

Jones).

          17.    The U.S. Trustee promptly moved to dismiss the case, arguing that “[t]he strategy

employed here—filing bankruptcy for three non-operating members of a larger enterprise to

channel and cap liability against the other, revenue-generating members of that enterprise and its

owner using a bankruptcy subchapter designed to aid small, struggling businesses—is a novel and

dangerous tactic that is abusive and undermines the integrity of the bankruptcy system.” 10 The

U.S. Trustee also argued that “Alex Jones and FSS hand-picked these three holding companies for

bankruptcy as part of a scheme engineered solely to limit their own legal liability, to deny parties

in interest a full accounting of their assets, and to deny individuals their day in court and imminent

recovery for established liability.”11

          18.    The plaintiffs in the Texas and Connecticut actions also promptly moved to dismiss

the Shell Company Cases as bad-faith filings.12 But to obtain immediate remand and retain their

trial date, the Connecticut Families dismissed their state-court causes of action against these shell

companies, resulting in the case being remanded back to state court.

          19.    The Texas plaintiffs exited the bankruptcy in a slightly different way. They


9
   See In re InfoW, LLC, et al., Case Nos. 22-60020, 22-60021, and 22-60022 (Bankr. S.D. Tex. 2022).
10
   In re InfoW, LLC, Case No. 22-60020, ECF No. 50 at 2 (Bankr. S.D. Tex. Apr. 29, 2022).
11
   Id. at 16.
12
   In re InfoW, LLC, Case No. 22-60020, ECF Nos. 36, 42.

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nonsuited their claims against the Shell Companies in the Texas actions and obtained remand.

           20.     The U.S. Trustee and the three debtors then agreed to dismiss the Chapter 11 cases,

which this Court ordered on June 10, 2022.13

           21.     Jones and FSS are now the only remaining defendants in both the Connecticut and

Texas actions.

           22.     Because the original trial dates for the Texas state-court actions had passed, the

Texas state court reset the Heslin/Lewis trial date for July 2022, and the Pozner/De La Rosa trial

date for September 2022.

           23.     While the Heslin/Lewis trial was pending, and with the Connecticut action set to

begin jury selection on August 2, 2022, Jones had FSS commence a chapter 11 case on July 29,

2022.      With its filing, FSS sought emergency relief from the automatic stay to allow the

Heslin/Lewis action to continue to final judgment.14 Given the timing of the Heslin/Lewis and

Lafferty suits, a lift-stay could not be sought and granted in time to save the Pozner/De La Rosa

September trial date. Instead, Pozner and De La Rosa sought to obtain a trial setting against Alex

Jones. The trial court allowed it with a trial date set for late March 2023.

           24.     But mere days after the trial court set the Pozner/De La Rosa trial for March 2023,

Alex Jones filed for bankruptcy—triggering yet another automatic stay. Pozner and De La Rosa

now seek relief in this Case against Jones to preserve their trial setting.

                                    IV.         BASIS FOR RELIEF

           25.     The Pozner/De La Rosa suit contemplates the adjudication of personal-injury

claims, the liquidation of which is properly excluded from the jurisdiction of any bankruptcy




13
     In re InfoW, LLC, Case No. 22-60020, ECF No. 114.
14
     ECF No. 2.

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court.15 As such, and for the reasons set forth, the automatic stay protecting Jones in this case

should be lifted for cause to allow the Pozner/De La Rosa suit to proceed and damages to be

determined.16 Because “cause” is not defined in the Bankruptcy Code, courts usually decide

whether cause exists on a case-by-case basis.17 Within this Circuit, there is no set standard for

finding “cause,” but rather bankruptcy courts have flexibility and broad discretion in determining

whether to lift the automatic stay.18 Indeed, the Fifth Circuit has recognized cause as “any reason

cognizable to the equity power and conscience of the court as constituting an abuse of the

bankruptcy process.”19 Further, bankruptcy courts have given meaning to the term based on a

three-prong test for determining whether the stay should be lifted, including: (i) whether any great

prejudice to either the bankruptcy estate or the debtor will result in prosecution of the lawsuit; (ii)

whether the hardship to the non-debtor party by the continuation of the automatic stay outweighs

the hardship of the debtor; and (iii) whether the creditor has a probability of success on the merits

of his or her case.20 Courts in this district have utilized this method.21 Here, all three prongs favor

modifying the automatic stay to allow the he Pozner/De La Rosa action to proceed.

         26.      Specifically, Pozner and De La Rosa seek relief from the automatic stay to (i)

permit the jury trial to adjudicate their claims to final judgment; (ii) pursue collection against non-

debtor defendants; and (iii) establish their rights to recover from the Debtor within this Case. This



15
   28 U.S.C. 157(b)(2)(o), (b)(5)
16
   11 U.S.C. § 362(d)(1); see also In re JCP Properties, Ltd., 540 B.R. 596, 613 (Bankr. S.D. Tex. 2015).
17
   In re Reitnauer, 152 F.3d 341, 343 n.4 (5th Cir. 1998); In re Mosher, 578 B.R. 765, 772 (Bankr. S.D. Tex. 2017)
   (citing In re Xenon Anesthesia of Texas, PLLC, 510 B.R. 106, 112 (Bankr. S.D. Tex. 2014)).
18
   In re Choice ATM Enters., Inc., Case No. 14-44982-DML, 2015 WL 1014617, at *5 (Bankr. N.D. Tex. Mar. 4,
   2015) (citation omitted)); see also Bonneville Power Admin. v. Mirant Corp. (In re Mirant Corp.), 440 F.3d 238,
   253 (5th Cir. 2006).
19
   In re Northbelt, LLC, 630 B.R. 228, 284 (Bankr. S.D. Tex. 2020) (citing In re Little Creek Dev. Co., 779 F.2d 1068,
   1072 (5th Cir. 1986)).
20
   Int’l Business Machines v. Fernstrom Storage & Van Co. (In re Fernstrom Storage & Van Co.), 938 F.2d 731, 735
   (7th Cir. 1991); In re Bock Laundry Machine Co., 37 B.R. 564, 566 (Bankr. N.D. Ohio 1984).
21
   See In re Kao, Case No. 15-31193-H3-13, 2015 WL 9412744, at *2 (Bankr. S.D. Tex., December 21, 2015) (citing
   In re Namazi, 106 B.R. 93, 94 (Bankr. E.D. Va. 1989)).

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relief is necessary and warranted to allow Pozner and De La Rosa a prompt trial setting, protecting

against prejudicial delay and to promote judicial efficiency in respect of a final determination

regarding claims the Court cannot adjudicate.

     A. No great prejudice will result to the Debtor or the bankruptcy estate from prosecuting
        the Pozner/De La Rosa action.

        26.      Pozner and De La Rosa are personal-injury tort claimants. Their claims require

adjudication outside the bankruptcy court and liquidation for purposes of receiving a distribution

in this Case. That adjudication is statutorily excluded from the jurisdiction of any bankruptcy

court.22 They have also preserved their rights to a jury trial outside the bankruptcy case with the

jury selection that was previously scheduled September 2022. But the Heslin/Lewis and Lafferty

cases made it impossible to preserve this September trial date. Nevertheless, Pozner and De La

Rosa’s claims continue to exist, and must be resolved. So the issue before the Court is when these

claims should be liquidated.23 Although the automatic stay currently prevents adjudication of these

pending claims, the stay was not intended to indefinitely prevent such adjudication.24 Instead,

“[c]ourts often grant creditors relief from the automatic stay so they can adjudicate their

unliquidated claims against a debtor outside of bankruptcy court, particularly when the claims are

already the subject of pending litigation.”25

        27.      Pozner and De La Rosa’s claims have been pending for over four years. These

claims have been investigated, litigated, and prepared for trial. Substantial costs for litigation have

already been borne. There is no prejudice to the Debtor in adjudicating these claims to final


22
   See 28 U.S.C. § 157(b)(2)(B), (b)(2)(O), and (b)(5); see also In re Schepps Food Stores, Inc., 169 B.R. 374, 377 &
   nn.3-4 (Bankr. S.D. Tex. 1994) (analyzing the exclusion of personal injury claims and scope of bankruptcy court
   power).
23
   See In re Fuchs, No. 05-3595-BJH, 2006 WL 6543977, at *2-3 (Bankr. N.D. Tex. 2006) (finding adjudication of
   personal injury claims sufficient to establish cause for granting relief from the automatic stay).
24
   See In re Bock Laundry Machine Co., 37 B.R. at 567 (“The automatic stay was never intended to preclude a
   determination of tort liability and the attendant damages.”).
25
   Kipp Flores Architects, L.L.C. v. Mid-Continent Cas. Co., 852 F.3d 405, 414 (5th Cir. 2017).

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judgment now, particularly given that Pozner and De La Rosa’s requested relief limits collection

of any judgment outside this Case to non-debtor codefendants and third parties, while reserving

collection against Debtor to this Case. As such, judicial efficiency and conservation of party

resources are best served by permitting the adjudication of the Pozner/De La Rosa case.

       B. Pozner and De La Rosa’s hardship substantially outweighs any impact on the Debtor
          under the requested modification.

           28.       The adjudication of Pozner and De La Rosa’s claims against Jones depends upon

lifting the automatic stay.26 The harm they have endured is inherent in the nature of their claims.

They are not only the parents of a child murdered at Sandy Hook but also victims of Jones’s lies

surrounding that tragedy. As personal-injury claimants, Pozner and De La Rosa look to a jury trial

to hold the Jones defendants accountable, to find justice and personal closure for the harms done

to them, and to liquidate their damages. They have been litigating for years to obtain that relief

and closure, which has only been delayed and frustrated by Jones’s obstruction.

           29.      Pozner and De La Rosa and their counsel have expended considerable time and

expense preparing for trial. Witnesses have been and are being prepared. Travel arrangements are

being remade and parties and expert and fact witnesses’ schedules are being re-coordinated. And

these families have prepared themselves mentally for an emotional trial. To impose more of a

burden and cost of delay on Pozner and De La Rosa is a great hardship, one that outweighs any

hardship to Jones. On the contrary, bankruptcy does not relieve Debtor of the burden of liquidating

existing claims. So a delay will not lessen that burden; rather it will only increase it.




26
     See 28 U.S.C. § 157(b)(2)(B), (b)(2)(O), (b)(5); 28 U.S.C. § 1411.

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     C. Pozner and De La Rosa have a high probability of success on the merits of their claims.

        30.       Even a slight probability of success on the merits supports lifting the automatic

stay.27 Here, liability against Jones is already established. All that remains is a determination of

damages. And Pozner and De La Rosa are likely to obtain a substantial damages award, especially

given that a $49 million jury verdict was secured in Heslin/Lewis trial this past August, and a $965

million jury verdict was secured in the Lafferty trial this October in Connecticut.

     D. Additional factors weigh in favor of modifying the automatic stay.

        31.       Bankruptcy courts have also considered other factors28 in determining whether to

lift the automatic stay to allow litigation to proceed in another forum, including:

                 whether relief will result in a partial or complete resolution of the issues;

                 the lack of any connection with or interference with the bankruptcy case;

                 whether the other proceeding involves the debtor as a fiduciary;

                 whether a specialized tribunal has been established to hear the particular cause of
                  action;

                 whether the debtor's insurer has assumed full responsibility;

                 whether the action primarily involves third parties;

                 whether litigation in the other forum would prejudice the interests of the other
                  creditors;

                 whether the judgment claim arising from the other action is subject to equitable
                  subordination;

                 whether the movant's success would result in a judicial lien avoidable by the debtor;




27
   See In re SCO Group, Inc., 395 B.R. 852, 859 (Bankr. D. Del. 2007); Int’l Business Machines v. Fernstrom Storage
   & Van Co. (In re Fernstrom Storage & Van Co.), 938 F.2d at 737.
28
   These same factors go into the various tests used by the courts in the Fifth Circuit to determine abstention and
   remand. In re Viper Prods. & Servs., LLC, Case No. 21–50187, Adv. No. 22–05003, 2022 WL 2707879, at *2
   (Bankr. N.D. Tex. July 11, 2022).

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                 interests of judicial economy and the expeditious and economical resolution of
                  litigation;

                 whether the proceedings have progressed to the point that the parties are ready for
                  trial; and

                 impact of the stay on the parties and the balance of harm.29

(Collectively, the “Xenon Factors”). These factors need not be assigned equal weight, and only

those factors relevant to the particular case need to be considered.30 Courts have recognized that

a decision to lift the automatic stay may be upheld on the ground of judicial economy alone.31

        32.       Significantly, here, most of the Xenon Factors weigh strongly in favor of lifting the

stay. Specifically, factors 1, 2, 4, and 7–12 support the requested relief. The remaining factors

are neutral or inapplicable, and none weigh in favor of denying such relief.

           i.     Lifting the Automatic Stay will result in a complete resolution, will facilitate,
                  rather than interfere with this Chapter 11 Case, and will not prejudice other
                  parties in interest32

        33.       As matters presently stand, the trial is ready to proceed against Jones as to damages,

but is stayed. Pozner and De La Rosa dispute that any material problem would be presented by

going forward with the damages portion of the trial. Rather, permitting the case to proceed to

assessment of damages against Jones will result in finality regarding one of the largest claims in

this Case. In turn, such finality will facilitate a resolution by solidifying the quantum of claims

that cannot be liquidated or otherwise adjudicated by this Court. There is also no contention that

Pozner and De La Rosa’s claims would be subject to equitable subordination or give rise to an

avoidable judicial lien. These claims cannot be undone in bankruptcy, and fixing the final



29
   See In re Xenon Anesthesia of Tex., PLLC, 510 B.R. 106, 112 (S.D. Tex. 2014); In re Curtis, 40 B.R. 795, 799-800
   (Bankr. D. Utah 1984); In re U.S. Brass Corp., 176 B.R. 11, 13 (Bankr. E.D. Texas 1994).
30
   In re U.S. Brass Corp., 176 B.R. at 13; In re Keene Corp., 171 B.R. 180, 183 (Bankr. S.D.N.Y. 1994).
31
   See In re Kao, Case No. 15–31193, 2015 WL 9412744, at *2 (Bankr. S.D. Tex. Dec. 21, 2015).
32
   Xenon Factors 1, 2, 4, 7, 8, and 9.

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liquidated amount of these claims will be final and binding on Jones and any other creditors he

may have.

         34.      Moreover, such claims would be nondischargeable under §523(a)(6)33 in this

case.34 Therefore, preventing a judgment from being entered and appeals from commencing does

nothing more than delay the inevitable.35 And allowing Jones to continue to delay the final

resolution of the Pozner/De La Rosa case, after years of “unprecedented” abuse and delay imposed

on them in the state court cases, is wholly inequitable. As illustrated supra, the underlying cases

have been delayed repeatedly by Jones’s procedural gamesmanship. To the extent Jones intends

to litigate and appeal, that process should proceed now.

         35.      Given the factors that are applicable here, lifting the stay is warranted. Liability

has been determined and lifting the stay will allow Pozner and De La Rosa to promptly liquidate

their claims. Liquidating their claims is essential to this bankruptcy case. No one denies that the

Texas and Connecticut families are the largest creditors in this case.36 Having an early and final

determination of these claims against the Debtor will best allow this case to progress forward.

         36.      Moreover, proceeding with the Pozner/De La Rosa case will not interfere with this

Case, whereas denial will result in substantial harm to Pozner and De La Rosa. The Pozner/De La

Rosa case is ready for jury trial in state court for purposes of determining damages. Lifting the




33
   See Connecticut Punitive Damages Opinion at 43-44 (the “record clearly supports the plaintiffs’ argument that the
   defendants’ conduct was intentional and malicious, and certain to cause harm;” was “wanton… and heinous” and
   reflected “depravity” and “reprehensibility”).
34
   See McClendon v. Springfield (In re McClendon), 765 F.3d 501 (5th Cir. 2014) (finding state court defamation
   judgment was a nondischargeable debt pursuant to section 523(a)(6)); Purser v. Scarbrough (In re Scarbrough),
   516 B.R. 897 (Bankr. W.D. Tex. 2014), aff’d, 836 F.3d 447 (5th Cir. 2016) (same); Cantwell-Cleary Co. v. Cleary
   Packaging, LLC (In re Cleary Packaging, LLC), 36 F.4th 509 (4th Cir. 2022) (finding the discharge exceptions in
   section 523(a) applicable in subchapter V cases).
35
   See Disciplinary Bd. of Pa. Sup. Ct. v. Feingold (In re Feingold), 730 F.3d 1268, 1278 (11th Cir. 2013) (finding the
   nondischargeability of a debt may be “a weighty factor[] in a bankruptcy court’s evaluation of ‘cause.’”).
36
   The only other material claim, FSS’s alleged PQPR Note, is subject to pending claims for fraudulent transfer in
   Heslin v. Jones, No. D-1-GN-22-001610, in the 200th Judicial District Court, Travis County, Texas.

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stay will not prejudice other creditors as it merely allows Pozner and De La Rosa to liquidate

claims that already exist. Any judgment against the Debtor for Pozner and De La Rosa will only

be enforced against the Debtor here in this Case.

         37.       In contrast, an ongoing delay of the state-court action only prejudices Pozner and

De La Rosa, who have waited four years to have their claims heard by a jury, only to encounter

yet another effort at delay by Jones.37

           ii.     The underlying proceedings have progressed to the point where trial is ready, and
                   the interests of judicial economy and the expeditious and economical resolution
                   of litigation would be served by lifting the Automatic Stay38

         38.       Judicial economy favors lifting the stay given the trial posture of Pozner and De La

Rosa’s claims against the Debtor in that action as well as their pending claims against the non-

debtor defendants. The experienced Texas trial judge who has presided over the case and the

Heslin/Lewis trial is prepared to proceed with the trial, as are Pozner and De La Rosa. The most

efficient use of judicial resources is to allow the action to proceed.

         39.       And again, lifting the stay will not burden the bankruptcy court’s docket, but will

swiftly allow Pozner and De La Rosa their day in court before a jury of their peers.

         40.       Further, without question, the Texas appellate courts are the only forums that can

determine any appeal. As such, judicial economy would be served by lifting the stay. Entry of

judgment, and any appellate processes, are quite literally the final steps in these cases.

         41.       Furthermore, Pozner and De La Rosa’s claims are not only personal-injury tort

claims—as to which a jury-trial right exists—but also claims based on state law.




37
   See In re Fernstrom Storage & Van Co., 938 F.2d at 736-37 (“A decision continuing application of the stay to
   IBM’s action would cause it great prejudice by forcing it, in effect, to write off the expenses it incurred in litigating
   its case against Fernstrom to the eve of trial. Where the stayed non-bankruptcy litigation has reached an advanced
   stage, courts have shown a willingness to lift the stay to allow the litigation to proceed.”).
38
   Xenon Factors 10 and 11.

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          iii.   The balance of harms weighs in favor of lifting the stay39

        42.      For all these reasons, the balance of harms weighs heavily in favor of lifting the

stay. After four years of litigation, Pozner and De La Rosa deserve finality as to their claims. That

finality, in turn, will facilitate resolution in this Case, and will not otherwise prejudice any party,

including Jones. Lifting the automatic stay will not prejudice any other creditors in this Case for

the reasons discussed herein.

        43.      Moreover, comity considerations warrant lifting the stay. In both Texas and

Connecticut, Jones and FSS were sanctioned for misconduct in the litigation. The matter should

be adjudicated in the Texas court for that reason alone. A bankruptcy court within the Southern

District of Texas, cited with approval by the Fifth Circuit in Kipp Flores Architects, L.L.C.,40

granted relief from the stay for the claimant to proceed with a contempt citation in state court:

                 The state court has been involved in the litigation between these parties
                 since its inception more than two years ago. The state court case has been
                 set for trial twice and both sides are ready to proceed to have the matter
                 resolved. The state court is familiar with the causes of action alleged, the
                 parties involved, and the facts of the state court litigation. The state court
                 has rendered numerous rulings and orders in connection with the state court
                 litigation. The state court is entitled to consummate the exercise of its
                 inherent power to punish a contemnor for improper past acts that affronted
                 the state court's dignity and authority.41

Accordingly, the Court should lift the automatic stay for cause to permit Pozner and De La Rosa

to proceed to trial.

        44.      Lastly, Pozner and De La Rosa respectfully request that the stay imposed by

Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure be waived to allow them to

immediately proceed with their suit. Pozner and De La Rosa request this relief (1) to prevent abuse



39
   Xenon Factor 12.
40
   852 F.3d at 414.
41
   In re Xenon Anesthesia of Texas, PLLC, 510 B.R. at 110.

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of the bankruptcy process; (2) to allow them an imminent trial setting and protect against

prejudicial delay; and (3) to promote judicial efficiency.

                                    V.        CONCLUSION

       For these reasons, Pozner and De La Rosa respectfully request that this Court (i) grant them

relief from the automatic stay to proceed to judgment and appeal; (ii) waive the stay requirement

under Rule 4001(a)(3); and (iii) grant such other and further relief to which they are justly entitled.

       Dated: January 20, 2023

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


        The undersigned certifies that on January 20, 2023, a true and correct copy of the foregoing
Motion was served electronically on all parties registered to receive electronic notice of filings in
this case via this Court’s ECF notification system.

                                              /s/ Jarrod B. Martin
                                              Jarrod B. Martin




                             CERTIFICATE OF CONFERENCE

        The undersigned certifies that on January 19, 2023, I conferred with Debtor’s counsel via
email, and Debtor’s counsel is opposed to the relief requested in this Motion.

                                              /s/ Jarrod B. Martin
                                              Jarrod B. Martin




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